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                               CONSULTING AGREEMENT


This Agreement is made effective as of December 06, 2021, by and between Valitas Health
Services, Inc., of 103 Powell Ct, Brentwood, Tennessee 37027, and Geneva Consulting, LLC, of
7 WTC, New York, New York 10007.

In this Agreement, the party who is contracting to receive services shall be referred to as "VHS",
and the party who will be providing the services shall be referred to as "GC".

GC has a background in Corporate Health-Care Restructuring and is willing to provide services
to VHS based on this background.

VHS desires to have services provided by GC.

Therefore, the parties agree as follows:

1. DESCRIPTION OF SERVICES. Beginning on December 08, 2021, GC will provide the
following services (collectively, the "Services"):

                                     Corporate Restructuring

2. PERFORMANCE OF SERVICES. The manner in which the Services are to be performed
and the specific hours to be worked by GC shall be determined by GC. VHS will rely on GC to
work as many hours as may be reasonably necessary to fulfill GC's obligations under this
Agreement.

3. PAYMENT. VHS will pay a fee to GC for the Services in the amountof$500,000 each calendar
month. This fee shall be payable in a lump sum of $3,000,000 up front retainer for first six months
of services, then $500,000 each month for the duration of the agreement.

4. TERM/TERMINATION. This Agreement shall terminate automatically upon completion by
GC of the Services required by this Agreement.

5. RELATIONSHIP OF PARTIES. It is understood by the parties that GC is an independent
contractor with respect to VHS, and not an employee of VHS. VHS will not provide fringe
benefits, including health insurance benefits, paid vacation, or any other employee benefit, for the
benefit of GC.

6. INDEMNIFICATION. VHS agrees to indemnify and hold harmless GC from all claims,
losses, expenses, fees including attorney fees, costs, and judgments that may be asserted against
GC that result from the acts or omissions of VHS, VHS's employees, if any, and VHS's agents.




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7. NOTICES. All notices required or permitted under this Agreement shall be in writing and shall
be deemed delivered when delivered in person or deposited in the United States mail, postage
prepaid, addressed as follows:

    IF for VHS:

         Valitas Health Services, Inc.
         Isaac Lefkowitz
         Interim CEO
         l 03 Powell Ct
         Brentwood, Tennessee 37027


    IF for GC:

         Geneva Consulting, LLC
         Jay Leitner
         Director
         7WTC
         New York, New York 10007

Such address may be changed from time to time by either party by providing written notice to the
other in the manner set forth above.

8. ENTIRE AGREEMENT. This Agreement contains the entire agreement of the parties and
there are no other promises or conditions in any other agreement whether oral or written. This
Agreement supersedes any prior written or oral agreements between the parties.

9. AMENDMENT. This Agreement may be modified or amended if the amendment is made in
writing and is signed by both parties.

10. SEVERABILITY. If any provision of this Agreement shall be held to be invalid or
unenforceable for any reason, the remaining provisions shall continue to be valid and enforceable.
If a court finds that any provision of this Agreement is invalid or unenforceable, but that by limiting
such provision it would become valid and enforceable, then such provision shall be deemed to be
written, construed, and enforced as so limited.

11. \V AIVER OF CONTRACTUAL RIGHT. The failure of either party to enforce any
provision of this Agreement shall not be construed as a waiver or limitation of that party's right to
subsequently enforce and compel strict compliance with every provision of this Agreement.

12. APPLICABLE LAW. This Agreement shall be governed by the laws of the State of
Tennessee.

13. INTERRUPTION OF SERVICE. Either party shall be excused from any delay or failure in
performance required hereunder if caused by reason of any occurrence or contingency beyond its




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reasonable control, including, but not limited to, acts of God, acts of war, fire, insurrection, laws
proclamations, edits, ordinances or regulations, strikes, lock-outs or other serious labor disputes,
riots, earthquakes, floods, explosions or other acts of nature. The obligations and rights of the party
so excused shall be extended on a day-to-day basis for the time period equal to the period of such
excusable interruption. When such events have abated, the parties' respective obligations
hereunder shall resume. In the event the interruption of the excused party's obligations continues
for a period in excess of thirty (30) days, either party shall have the right to terminate this
Agreement upon ten ( 10) days' prior written notice to the other party.

14. ASSIGNMENT. GC agrees that it will not assign, sell, transfer, delegate or otherwise dispose
of any rights or obligations under this Agreement without the prior written consent of VHS. Any
purported assignment, transfer, or delegation shall be null and void. Nothing in this Agreement
shall prevent the consolidation of VHS with, or its merger into, any other corporation, or the sale
by VHS of all or substantially all of its properties or assets, or the assignment by VHS of this
Agreement and the performance of its obligations hereunder to any successor in interest or any
Affiliated Company. Subject to the foregoing, this Agreement shall be binding upon and shall
inure to the benefit of the parties and their respective heirs, legal representatives, successors, and
permitted assigns, and shall not benefit any person or entity other than those enumerated above.

15. SIGNATORIES. This Agreement shall be signed on behalf of VHS by Isaac Lefkowitz,
CEO and on behalf of GC by Jay Leitner, Director and effective as of the date first above
written.

Party receiving services:
Valitas Health Services, Inc.



                                                         Date:    12/8/2021 - - - - - - -




Party providing services:
Geneva Consulting, LLC



By: _ ___,"---#--::IA.....,,,""---------.IIIF'--------   Date: 12/08/2021
   Jay Leitrr
   Director




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